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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                    )   Chapter 11
    In re:                                          )
                                                    )   Case No. 20-12522 (JTD) (Bankr. D. Del.)
    MALLINCKRODT PLC, et al.                        )
                                                    )   (Jointly Administered)
                Debtors. 1                          )
    _________________________________               )
                                                    )
                                                    )
    KENNETH GREATHOUSE, STUART                      )
    ROSE, and LLOYD GLENN,                          )
                                                    )   C.A. No. 22-cv-00333 (TLA)
                           Appellants,              )
                                                    )
    v.                                              )
                                                    )
    MALLINCKRODT PLC, et al.                        )
                                                    )
                           Appellees.               )
                                                    )
    _________________________________               )

             APPELLANTS’ STATEMENT OF ISSUES TO BE PRESENTED AND
         DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

             Kenneth Greathouse, Stuart Rose, and Lloyd Glenn (collectively, the “Glenridge

Principals” or the “Appellants”), by their undersigned counsel, pursuant to Rule 8009 of the

Federal Rules of Bankruptcy Procedure and Rule 8009-1 of the Local Rules of Bankruptcy

Practice and Procedure for the United States Bankruptcy Court for the District of Delaware,

hereby submit their statement of issues to be presented and designation of items to be included

in the record on appeal from the confirmation of the Debtors’ Fourth Amended Joint Plan of

Reorganization of Mallinckrodt plc and its Debtor Affiliates Under Chapter 11 of the


1
        A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is
675 McDonnell Blvd., Hazelwood, Missouri 63042.




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Bankruptcy Code (the “Joint Plan”) [D.I. 6066] by the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”) 2.

                              STATEMENT OF ISSUES TO BE PRESENTED

           1.    Whether the Bankruptcy Court erred by confirming the Joint Plan over the

objection and rejection by creditors in Class 6(f) of Debtor Mallinckrodt Pharmaceuticals

Ireland Limited, by approving the Initial Fixed Distribution, which violates (a) the “absolute

priority rule” embodied in section 1129(b)(2)(B)(ii) of the Bankruptcy Code and (b) and

unfairly discriminates in violation of section 1129(b)(1) of the Bankruptcy Code, including by

failing to require an appropriate disputed claims reserve and by improperly concluding that the

settlement proceeds constitutes a “gift” of anticipated reorganization securities from another

class of unsecured creditors.

           2.     Whether the Bankruptcy Court erred by authorizing the rejection of the

Glenridge Principals’ Royalty Agreement through the Plan by erroneously determining the

nature and extent of the Royalty Agreement which issue(s) were preserved under the Glenridge

Principals’ pending adversary proceeding.




2
 The Court issued an Opinion [D.I. 6347] and a Revised Opinion [D.I. 6378] with respect to the Joint Plan on
February 3, 2022 and February 8, 2022, respectively. The Court issued the Findings of Fact, Conclusions of Law,
and Order Confirming Fourth Amended Joint Plan of Reorganization (with technical modifications) of
Mallinckrodt plc and its Debtor Affiliates under Chapter 11 of the Bankruptcy Code [D.I. 6660] on March 2, 2022.


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             DESIGNATION OF ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

Appellants designate the following to be included in the record on appeal: 3

ITEM                               DOCUMENT TITLE                                         DATE              D.I.
    1.     Motion of Debtors for Order Authorizing Intercompany                          11/2/20             385
           Restructuring Transactions
    2.     Order Authorizing Intercompany Restructuring Transactions                     11/25/20            633

    3.  Proofs of Claim filed by each of the Glenridge Principals                      02/11/2021           N/A 4
        against various Debtors
    4. Joint Plan of Reorganization of Mallinckrodt plc and Its                        04/20/2021           2074
        Debtor Affiliates Under Chapter 11
    5. Disclosure Statement for Joint Chapter 11 Plan of                               04/20/2021           2075
        Reorganization of Mallinckrodt plc and Its Debtors Affiliates
        Under Chapter 11 of the Bankruptcy Code
    6. Objection of Greathouse, Rose, And Glenn to the Disclosure                      05/18/2021           2371
        Statement For Joint Chapter 11 Plan Of Reorganization Of
        Mallinckrodt plc And Its Debtor Affiliates Under Chapter 11
        Of The Bankruptcy Code
    7. Joint Plan of Reorganization of Mallinckrodt plc and its                        06/08/2021           2767
        Debtor Affiliates Under Chapter 11
    8. Disclosure Statement for Joint Chapter 11 Plan of                               06/09/2021           2769
        Reorganization of Mallinckrodt plc and its Debtor Affiliates
        Under Chapter 11 of the Bankruptcy Code
    9. Joint Plan of Reorganization of Mallinckrodt plc and Its                        06/15/2021           2863
        Debtor Affiliates Under Chapter 11
    10. Disclosure Statement for Joint Chapter 11 Plan of                              06/15/2021           2864
        Reorganization of Mallinckrodt plc and Its Debtor Affiliates
        Under Chapter 11 of the Bankruptcy Code
    11. Joint Plan of Reorganization of Mallinckrodt plc and Its                       06/17/2021           2903
        Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
    12. Disclosure Statement for Joint Plan of Reorganization of                       06/17/2021           2904
        Mallinckrodt plc and Its Debtor Affiliates Under Chapter 11
        of the Bankruptcy Code




3
  All items designated herein by the Glenridge Principals include all exhibits, schedules, attachments and other
documents included within each docket entry for such item.
4
  Proofs of Claims and Administrative Expense Claims are available at the claims agent website:
https://restructuring.primeclerk.com/mallinckrodt/Home-ClaimInfo. Copies can be forwarded upon request.


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ITEM                        DOCUMENT TITLE                               DATE       D.I.
   13. Order (I) Approving the Disclosure Statement and Form and       06/17/2021   2911
       Manner of Notice of Hearing Thereon, (II) Establishing
       Solicitation Procedures, (III) Approving the Form and
       Manner of Notice to Attorneys and Solicitation Directive,
       (IV) Approving the Form of Ballots, (V) Approving Form,
       Manner, and Scope of Confirmation Notices, (VI)
       Establishing Certain Deadlines in Connection with Approval
       of Disclosure Statement, and Confirmation of Plan, and (VII)
       Granting Related Relief
   14. Joint Plan of Reorganization of Mallinckrodt plc and its        06/18/2021   2916
       Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
       - Solicitation Version
   15. Disclosure Statement for Joint Chapter 11 Plan of               06/18/2021   2917
       Reorganization of Mallinckrodt plc and its Debtor Affiliates
       Under Chapter 11 of the Bankruptcy Code - Solicitation
       Version
   16. Order Establishing Confirmation Schedule and Protocols           06/24/21    2988

   17. Administrative Claims filed by each of the Glenridge            06/25/2021   N/A4
       Principals against various Debtors
   18. Notice of Filing of Exhibit U (Rejected Executory               08/06/2021   3596
       Contract/Unexpired Lease List) of Plan Supplement for the
       Joint Plan of Reorganization of Mallinckrodt plc and its
       Debtor Affiliates
   19. Notice of Filing of Plan Supplement for the Joint Plan of       08/07/2021   3615
       Reorganization of Mallinckrodt plc and its Debtor Affiliates
   20. Notice of Filing of Amended Exhibit U (Rejected Executory       08/13/2021   3721
       Contract/Unexpired Lease List) of Plan Supplement for the
       Joint Plan of Reorganization of Mallinckrodt plc and Its
       Debtor Affiliates
   21. Notice of Filing of Settlement Term Sheets in Connection        09/03/2021   4121
       with the Joint Plan of Reorganization of Mallinckrodt plc and
       its Debtor Affiliates Under Chapter 11 of the Bankruptcy
       Code
   22. First Amended Joint Plan of Reorganization of Mallinckrodt      09/29/2021   4508
       plc and its Debtor Affiliates Under Chapter 11 of the
       Bankruptcy Code
   23. Notice of Filing of Blackline of Amended Plan                   09/29/2021   4509

   24. Notice of Filing of Letter of the Official Committee of         10/01/2021   4540
       Unsecured Creditors in Support of First Amended Joint Plan
       of Reorganization




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ITEM                        DOCUMENT TITLE                               DATE       D.I.
   25. Complaint for Declaratory Judgment, Accounting,                 10/06/2021   4590
       Constructive Trust, Conversion, and Unjust Enrichment by
       Ken Greathouse, Stuart Rose, Lloyd Glenn against
       Mallinckrodt Pharmaceuticals Ireland Limited, Mallinckrodt
       ARD LLC (Adversary Pro. No. 21-51178)
   26. Declaration of Mark Greenberg in Support of UCC                 10/08/2021   4644
       Settlements in Connection with the First Amended Joint Plan
       of Reorganization
   27. sanofi-aventis U.S. LLC’s Expedited Motion for Pre-             10/12/2021   4675
       Confirmation Determination that Debtors Cannot Reject or
       Discharge Post-Confirmation Royalty Obligations Related to
       Sale of Acthar Gel
   28. Notice of Filing of Proposed Redacted Version of Expedited      10/13/2021   4681
       Motion for Pre-Confirmation Determination that Debtors
       Cannot Reject or Discharge Post-Confirmation Royalty
       Obligations Related to Sale of Acthar Gel
   29. Glenridge Principals' Notice of Intent to File a Supplemental   10/13/2021   4697
       Objection Regarding the UCC Settlement
   30. The Glenridge Principals Objection to the First Amended         10/13/2021   4701
       Joint Plan of Reorganization of Mallinckrodt plc and Its
       Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
   31. (SEALED) Preliminary Objection of sanofi-aventis U.S.           10/13/2021   4702
       LLC to Confirmation of the First Amended Joint Plan of
       Reorganization
   32. Notice of Filing of Proposed Redacted Version of                10/14/2021   4748
       Preliminary Objection of Sanofi-Aventis U.S. LLC to
       Confirmation of the First Amended Joint Plan of
       Reorganization of Mallinckrodt PLC and its Debtor
       Affiliates Under Chapter 11 of the Bankruptcy Code
   33. Debtors’ (I) Omnibus Objection to (A) Expedited Motion for      10/20/2021   4820
       Pre-Confirmation Determination that Debtors Cannot Reject
       or Discharge Post-Confirmation Royalty Obligations Related
       to Sale of Acthar Gel and (B) Motion of Sanofi-Aventis U>S.
       LLC for Temporary Allowance of Claims for Purposes of
       Voting to Accept or Reject Plan and to Classify Claims
       Under Class 7 of Plan and (II) Cross-Motion for Order (A)
       Authorizing Rejection of Asset Purchase Agreement and (B)
       Finding Royalty Obligations to be Prepetition Debts Subject
       to Discharge
   34. Motion of Glenridge Principals to File Under Seal               10/21/2021   4833
       Confidential Royalty Agreement and Related Confidential
       Information




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ITEM                        DOCUMENT TITLE                              DATE       D.I.
   35. (SEALED) Joinder By Glenridge Principals In Motion by          10/21/2021   4834
       sanofi-aventis U.S. LLC for Pre-Confirmation Determination
       That Debtors Cannot Reject or Discharge Post-Confirmation
       Royalty Obligations Related To Sale Of Acthar Gel
   36. Notice of Filing of Proposed Redacted Version of Document      10/21/2021   4842
       Regarding Joinder By Glenridge Principals In Motion by
       sanofi-aventis U.S. LLC for Pre-Confirmation Determination
       That Debtors Cannot Reject or Discharge Post-Confirmation
       Royalty Obligations Related To Sale Of Acthar Gel
   37. First Amendment to the Order Establishing Confirmation         10/21/2021   4864
       Schedule and Protocols
   38. Notice of Filing of Proposed Redacted Version of Debtors’      10/25/2021   4978
       (I) Omnibus Objection to (A) Expedited Motion for Pre-
       Confirmation Determination that Debtors Cannot Reject or
       Discharge Post-Confirmation Royalty Obligations Related to
       Sale of Acthar Gel and (B) Motion of Sanofi-Aventis U>S.
       LLC for Temporary Allowance of Claims for Purposes of
       Voting to Accept or Reject Plan and to Classify Claims
       Under Class 7 of Plan and (II) Cross-Motion for Order (A)
       Authorizing Rejection of Asset Purchase Agreement and (B)
       Finding Royalty Obligations to be Prepetition Debts Subject
       to Discharge
   39. Reply of Sanofi-Aventis U.S. LLC to Debtors’ Omnibus           10/26/2021   4988
       Objection to (A) Expedited Motion for Pre-Confirmation
       Determination that Debtors Cannot Reject or Discharge Post-
       Confirmation Royalty Obligations Related to Sale of Acthar
       Gel and (B) Motion of Sanofi-Aventis U>S. LLC for
       Temporary Allowance of Claims for Purposes of Voting to
       Accept or Reject Plan and to Classify Claims Under Class 7
       of Plan
   40. Declaration of Marc J. Brown in Support of Confirmation of     10/26/2021   4998
       the Joint Plan of Reorganization
   41. (SEALED) Debtors' (I) Objection to Joinder by Glenridge        10/26/2021   5005
       Principals in Motion for Pre-Confirmation Determination
       that Debtors Cannot Reject or Discharge Post-Confirmation
       Royalty Obligations Related to Sale of Acthar Gel and (II)
       Cross-Motion for Order (A) Authorizing Rejection of
       Glenridge Royalty Agreement and (B) Finding Royalty
       Obligations to be Prepetition Debts Subject to Discharge
   42. Debtors' (A) Memorandum of Law in Support of                   10/27/2021   5016
       Confirmation of the First Amended Joint Plan of
       Reorganization of Mallinckrodt Plc and Its Debtor Affiliates
       Under Chapter 11 of the Bankruptcy Code and (B) Omnibus
       Reply to Objections to Confirmation


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ITEM                        DOCUMENT TITLE                               DATE       D.I.
   43. Notice of Filing of Proposed Redacted Version of Reply of       10/27/2021   5037
       Sanofi-Aventis U.S. LLC to Debtors’ Omnibus Objection to
       (A) Expedited Motion for Pre-Confirmation Determination
       that Debtors Cannot Reject or Discharge Post-Confirmation
       Royalty Obligations Related to Sale of Acthar Gel and (B)
       Motion of Sanofi-Aventis U.S. LLC for Temporary
       Allowance of Claims for Purposes of Voting to Accept or
       Reject Plan and to Classify Claims Under Class 7 of Plan
   44. Notice of Filing of Proposed Final Pretrial Order for Phase I   10/27/2021   5041
       of the Plan Confirmation Hearing
   45. Notice of Filing of Proposed Redacted Version of Debtors'       10/28/2021   5052
       (I) Objection to Joinder by Glenridge Principals in Motion
       for Pre-Confirmation Determination that Debtors Cannot
       Reject or Discharge Post-Confirmation Royalty Obligations
       Related to Sale of Acthar Gel and (II) Cross-Motion for
       Order (A) Authorizing Rejection of Glenridge Royalty
       Agreement and (B) Finding Royalty Obligations to be
       Prepetition Debts Subject to Discharge
   46. Debtors' Motion to File Under Seal Certain Confidential         10/28/2021   5056
       Information in the Debtors' (I) Objection to Joinder by
       Glenridge Principals in Motion for Pre-Confirmation
       Determination that Debtors Cannot Reject or Discharge Post-
       Confirmation Royalty Obligations Related to Sale of Acthar
       Gel and (II) Cross-Motion for Order (A) Authorizing
       Rejection of Glenridge Royalty Agreement and (B) Finding
       Royalty Obligations to be Prepetition Debts Subject to
       Discharge
   47. Notice of Filing of Further Amended Exhibit U (Rejected         10/29/2021   5075
       Executory Contract/Unexpired Lease List) of Plan
       Supplement for the First Amended Joint Plan of
       Reorganization
   48. Final Declaration of James Daloia of Prime Clerk LLC            10/31/2021   5087
       Regarding the Solicitation of Votes and Tabulation of Ballots
       Cast on Joint Plan of Reorganization of Mallinckrodt plc and
       Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
       Code
   49. Notice of Revised Proposed Final Pretrial Order for Phase I     11/01/2021   5091
       of the Plan Confirmation Hearing
   50. Transcript Regarding Hearing Held 10/29/2021 RE:                11/01/2021   5094
       Omnibus
   51. (SEALED) Supplemental Objection of sanofi-aventis U.S.          11/01/2021   5101
       LLC to Confirmation of the First Amended Joint Plan of
       Reorganization



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ITEM                        DOCUMENT TITLE                              DATE       D.I.
   52. The Glenridge Principals Supplemental Objection to the         11/01/2021   5104
       UCC Settlement and the First Amended Joint Plan of
       Reorganization of Mallinckrodt plc and Its Debtor Affiliates
       Under Chapter 11 of the Bankruptcy Code
   53. Notice of Filing of Proposed Redacted Version of               11/01/2021   5112
       Supplemental Objection of sanofi-aventis U.S. LLC to
       Confirmation of the First Amended Joint Plan of
       Reorganization of Mallinckrodt PLC and its Debtor
       Affiliates Under Chapter 11 of the Bankruptcy Code
   54. Transcript Regarding Hearing Held 11/4/2021 RE:                11/05/2021   5186
       Confirmation
   55. Order in Connection with Expedited Motion for Pre-             11/08/2021   5210
       Confirmation Determination That Debtors Cannot Reject or
       Discharge Post-Confirmation Royalty Obligations Related to
       Sale of Acthar Gel
   56. (SEALED) Declaration of Randall S. Eisenberg in Support        11/15/2021   5301
       of Confirmation of the First Amended Joint Plan of
       Reorganization
   57. Declaration of Randall S. Eisenberg in Support of              11/17/2021   5368
       Confirmation of the First Amended Joint Plan of
       Reorganization
   58. Letter from Elizabeth R. Marks, Esq. to the Honorable John     11/17/2021   5381
       T. Dorsey, in Response to the Limited Objection of the
       Acthar Insurance Claimants to Proposed Final Pretrial Order
       for Phase II of the Plan Confirmation Hearing
   59. Final Pretrial Order for Phase I of the Plan Confirmation      11/23/2021   5510
       Hearing
   60. Final Pretrial Order for Phase II of the Plan Confirmation     11/23/2021   5511
       Hearing
   61. Corrected Third Amended Proposed Final Pretrial Order for      11/29/2021   5555
       Phase II of the Plan Confirmation Hearing
   62. Certification of Counsel Regarding Disputed Order                           5597
       Regarding the Joinder by Glenridge Principals in Motion by
       Sanofi-Aventis      U.S.    LLC     for   Pre-Confirmation     11/30/2021
       Determination that Debtors Cannot Reject or Discharge Post-
       Confirmation Royalty Obligations Related to Sale of Acthar
       Gel
   63. Order in Connection with Joinder by Glenridge Principals in    12/01/2021   5601
       Motion by Sanofi-Aventis U.S. LLC for Pre-Confirmation
       Determination that Debtors Cannot Reject or Discharge Post-
       Confirmation Royalty Obligations Related to Sale of Acthar
       Gel



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ITEM                        DOCUMENT TITLE                             DATE       D.I.
   64. Second Amended Joint Plan of Reorganization                   12/02/2021   5636

   65. Debtors' Omnibus Reply to Supplemental Plan Objections        12/03/2021   5660

   66. (SEALED) Memorandum of Law of Official Committee of           12/03/2021   5666
       Unsecured Creditors in Support of the UCC Settlement,
       Allocation, and the Debtors' Second Amended Joint Plan of
       Reorganization
   67. Joinder of the Unsecured Notes Trustee to the Memorandum      12/03/2021   5671
       of Law of Official Committee of Unsecured Creditors in
       Support of the UCC Settlement, Allocation, and the Debtors'
       Second Amended Joint Plan of Reorganization
   68. Declaration of Laura F. Ketcham                               12/06/2021   5684

   69. Notice of Unsealed Version of the Official Committee of       12/08/2021   5721
       Unsecured Creditors' Memorandum of Law of Official
       Committee of Unsecured Creditors in Support of the UCC
       Settlement, Allocation, and the Debtors' Second Amended
       Joint Plan of Reorganization
   70. Transcript regarding Hearing Held 12/09/2021 RE: Trial        12/13/2021   5759
       Phase II (Day 4)
   71. Transcript regarding Hearing Held 12/13/2021 RE: Trial        12/14/2021   5780
       Phase II (Day 6)
   72. Notice of Appeal filed by Glenridge Principals on Executory   12/15/2021   5805
       Contract
   73. Transcript regarding Hearing Held 12/14/2021 RE: Trial        12/16/2021   5819
       Phase
   74. Transcript regarding Hearing Held 12/15/2021 Re: Phase II -   12/17/2021   5845
       Confirmation
   75. Notice of Filing of Further Amended Exhibit U (Rejected       12/29/2021   6002
       Executory Contract/Unexpired Lease List) of Plan
       Supplement for the First Amended Joint Plan of
       Reorganization
   76. Appellant Designation of Items For Inclusion in Record On     12/29/2021   6005
       Appeal Glenridge Principals Designation of Items for
       Inclusion in Record on Appeal and Statement of Issues to be
       Presented
   77. Third Amended Joint Plan of Reorganization                    12/29/2021   6006

   78. Transcript regarding Hearing Held 12/17/2021 RE:              01/04/2022   6033
       Confirmation Phase II
   79. (SEALED) Transcript regarding Hearing Held 12/16/2021         01/05/2022   6048




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ITEM                       DOCUMENT TITLE                             DATE          D.I.
   80. Transcript regarding Hearing Held 12/16/2021 RE:             01/05/2022      6049
       CONFIRMATION HEARING PHASE II
   81. Transcript regarding Hearing Held 01/04/22 RE: Closing       01/05/2022      6051
       Arguments
   82. Transcript regarding Hearing Held 01/03/22 RE: Closing       01/05/2022      6052
       Arguments
   83. Fourth Amended Joint Plan of Reorganization                  01/06/2022      6066

   84. Transcript regarding Hearing Held 01/06/22 RE: Closing       01/10/2022      6101
       Arguments
   85. Opinion Re: Confirmation                                     02/08/2022      6347

   86. Revised Opinion Re: Confirmation                             02/08/2022      6378

   87. Findings of Fact, Conclusions of Law, and Order Confirming   03/02/2022      6660
       Fourth Amended Joint Plan of Reorganization (With
       Technical Modifications) of Mallinckrodt PLC and its
       Debtor Affiliates Under Chapter 11 of the Bankruptcy Code
   88. Notice of Appeal of Confirmation Order                       03/16/2022      6786



Dated: March 30, 2022                            COOCH AND TAYLOR, P.A
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                                           and Lloyd Glenn




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